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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                               MIDLAND-ODESSA DIVISION


 LINDA D. ROBINSON,

             Plaintiff,                              Case No.: 7:18-cv-00130-DC

 v.                                                  Honorable Judge David Counts

 CLIENT SERVICES, INC.,

             Defendant.



        PLAINTIFF’S RESPONSE TO DEFENDANT CLIENT SERVICES, INC.’S
          AMENDED MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(6)


       NOW comes Plaintiff, LINDA D. ROBINSON (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd., responding to CLIENT SERVICES, INC. (“Defendant”) Amended

Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) (“Defendant’s Amended Motion”), and in

support thereof states as follows:

I.     INTRODUCTION

       Defendant Client Services, Inc. (“Defendant”) seeks to dismiss this action pursuant to

Federal Rule of Civil Procedure 12(b)(6), claiming that Plaintiff has not stated a claim under which

relief can be granted. Defendant claims that Plaintiff has failed to show that Defendant has violated

the Fair Debt Collection Practices Act (“FDCPA”), as well as the Texas Debt Collection Act

(“TDCA”), by making a false, material misrepresentation of the character of Plaintiff’s debt when

Defendant falsely implied that interest or other charges could be applied to Plaintiff’s account.

(Dkt. 13, Defendant’s Amended Motion to Dismiss, pp. 1-2). Defendant contends that the

inclusion of the itemized account listing in its collection letter would not mislead the

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unsophisticated consumer because such consumers would not believe that interest or other charges

would later accrue. (Id. at pp. 5-7).

       Defendant, however, never intended to add any fees or collection costs to Plaintiff’s

account. (Id. at pp. 4-5; see also Dkt. 1, Plaintiff’s Complaint, ¶ 23). In fact, no interest or other

charges were accruing on the account when Defendant sent its collection letter to Plaintiff. (Id.).

However, by listing these categories with zero balances in the letter, Defendant attempted to coerce

Plaintiff to pay the balance in full by making her afraid that these charges would possibly begin to

accrue if she did not pay immediately. What would be the need for Defendant to include a column

for fees, and insert a dollar figure ($0.00), if not to suggest that such fees might possibly accrue in

the future? Wood v. Allied Interstate, LLC, 2018 U.S. Dist. LEXIS 98738, at *6 (N.D. Ill. Jun. 13,

2018). This is a material misrepresentation because it would lead a consumer to alter her course

of action in her decision-making process. Lox v. CDA, Ltd., 689 F.3d 818, 827 (7th Cir. 2012); see

also, Gomez v. Niemann & Heyer, L.L.P., 2016 U.S. Dist. LEXIS 82443, at *4 (W.D. Tex. June

24, 2016).

       Defendant blatantly omits one of the most recent and decisive opinions on this precise

issue, likely because the court in that case denied this same Defendant’s motion for judgment on

the pleadings on this exact issue. See Duarte v. Client Servs., No. 18 C 1227, 2019 U.S. Dist. LEXIS

53900 at *7 (N.D. Ill. Mar. 29, 2019). As will be outlined below, courts across the country have

rejected Defendant’s arguments time and again, and at this stage in the proceedings, when drawing

all facts and inferences in light of the Plaintiff, Defendant cannot plausibly show that its collection

letter could not be construed as misleading to an unsophisticated consumer. Accordingly, Plaintiff

has stated a plausible claim for relief under the FDCPA and TDCA, and Defendant’s Amended

Motion should be denied in its entirety.



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II.     LEGAL STANDARD

        A. Fed. R. Civ. P. 12(b)(6)

        To survive a motion to dismiss brought pursuant to Fed. R. Civ. P. 12(b)(6), “a complaint

must contain sufficient factual material, accepted as true, to state a claim to relief that is plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). However, plaintiffs are not required to “plead the elements of a cause of

action along with facts supporting each element.” Runnion ex rel. Runnion v. Girl Scouts of

Greater Chicago & Nw. Indiana, 786 F.3d 510,517 (7th Cir. 2015). Rather, the complaint must

provide a defendant “with ‘fair notice’ of the claim and its basis.” Tamayo v. Blagojevich, 526

F.3d 1074, 1081 (7th Cir. 2008) (quoting Fed. R. Civ. P. 8(a)(2) and Twombly, 550 U.S. at 555).

In ruling on a pending motion to dismiss, the court must construe the allegations in the complaint

in a light most favorable to the plaintiff, accept as true all well-pleaded factual allegations set forth

therein, and draw all reasonable inferences in favor of the non-moving party. Fednav Int'l Ltd. v.

Continental Ins. Co., 624 F.3d 834, 837 (7th Cir. 2010).

        Documents which are referred to in a complaint and are central to a claim, as well as any

matters of public record, may be considered on a motion to dismiss. Albany Bank v. Trust Co. v.

Exxon Mobile Corp., 310 F.3d 969, 971 (7th Cir. 2002); Henson v. CSC Credit Servs., 29 F.3d 280,

284 (7th Cir. 1994). Dismissal is only warranted if “it appears beyond a doubt that the plaintiff can

prove no set of facts in support of his claim which would entitle him to relief.” Conley v. Gibson,

355 U.S. 41, 45-46, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957). The “suit should not be dismissed if it is

possible to hypothesize facts, consistent with the complaint, that would make out a claim.”

Graehling v. Village of Lombard, Ill., 58 F.3d 295, 297 (7th Cir. 1995).

        B. The Fifth Circuit’s Standard in Determining Violations under the FDCPA



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        The FDCPA “is a strict liability statute, and debt collectors whose conduct falls short of its

requirements are liable irrespective of their intentions.” Ruth v. Triumph P’ships, 577 F.3d 790,

805 (7th Cir. 2009). Congress “clearly intended the FDCPA to have a broad remedial scope.” Serna

v. Law Office of Joseph Onwuteaka, P.C., 732 F.3d 440, 445 (5th Cir. 2013). The FDCPA should

therefore “be construed liberally in favor of the consumer.” Johnson v. Riddle, 305 F.3d 1107,

1117 (10th Cir. 2002); see also, Serna, 732 F.3d at 445 n.11.

        In construing violations under the FDCPA, the Fifth Circuit applies the “unsophisticated

or least sophisticated consumer standard” to determine whether conduct is deceptive or misleading.

Goswarni v. Am. Collections Enter., Inc., 377 F.3d 488, 495 (5th Cir. 2004) (noting the court “must

evaluate any potential deception in the letter under an unsophisticated or least sophisticated

consumer standard”); see also, Avila v. Rubin, 84 F.3d 222, 226-27 (7th Cir. 1996) (“the standard

is low, close to the bottom of the sophistication meter.”). The “least sophisticated consumer

standard serves the . . . purpose of protecting all consumers, including the inexperienced, the

untrained and the credulous, from deceptive debt collection practices . . . .” Taylor v. Perrin,

Landry, deLaunay & Durand, 103 F.3d 1232, 1236 (5th Cir. 1997). This standard views FDCPA

violations from the perspective of someone on “the very last rung on the sophistication ladder.”

Gammon v.GC Servs. Ltd. Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994). An unsophisticated

consumer may lose bills and may have forgotten about certain debts. Field v. Wilber Law Firm

P.C., 383 F.3d 562, 566 (7th Cir. 2004).

        In situations involving determinations as to whether debt collection letters violate the

FDCPA, circuit courts have “cautioned that a district court must tread carefully before holding that

a letter is not confusing as a matter of law . . . because ‘district judges are not good proxies for the

‘unsophisticated consumer’ whose interest the statute protects.’” McMillan v. Collection Prof’ls



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Inc., 455 F.3d 754, 759 (7th Cir. 2006) (quoting Walker v. Nat’l Recovery, Inc., 200 F.3d 500, 501-

03 (7th Cir. 1999)). “’[W]hat seems pellucid to a judge, a legally sophisticated reader, may be

opaque’ to the unsophisticated consumer.” Id. In line with this reasoning, courts have noted “[o]nly

the rarest FDCPA complaint that alleges a dunning letter is misleading or confusing may be

dismissed on the pleadings.” Samuel v. Approved Credit Solutions, LLC, 2015 U.S. Dist. LEXIS

98075, *4 (S.D. Ind. Jul. 18, 2015). “This is because the deceptive character of a debt-collection

letter must be understood through the mind of the ‘unsophisticated consumer’ who, though capable

of making basic logical inferences and refraining from reading things in a bizarre or idiosyncratic

fashion, is nevertheless ‘uninformed, naïve, or trusting.’” Id. (citing Gruber v. Creditors’

Protection Serv., Inc., 742 F.3d 271, 273-74 (7th Cir. 2014)). “[E]ven if the communication may

not seem deceptive on its face, a plaintiff is permitted to offer evidence at a summary judgment or

trial stage to show that indeed the language confuses the unsophisticated consumer.” Id. (citing

Evory v. RJM Acquisitions Funding, L.L.C., 505 F.3d 769. 776 (7th Cir. 2007)). Illustrating this

point is the fact that circuit courts have “reminded courts time and again that whether a debt-

collection letter is misleading or confusing is a question of fact.” Id. at 4-5 (citing Lox v. CDA,

Ltd., 689 F.3d 818, 822 (7th Cir. 2012) (“[W]e treat the question of whether an unsophisticated

consumer would find certain debt collection language misleading as a question of fact.”)).

III.   LEGAL ARGUMENT

       A. The Listed Interest and Other Charges Columns in Defendant’s Collection Letter
          Gave the Misleading Impression that Such Charges Could Possibly Begin to
          Accrue on Plaintiff’s Account.

       Defendant violated 15 U.S.C. § 1692e et al., 1692f of the FDCPA and Tex. Fin. Code Ann.

§ 392.304(19) of the TDCA by falsely implying that additional interest and charges could be added

to Plaintiff’s account (“subject debt”) by including column headers that included interest and other



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charges with zero balances in its collection letter. Defendant should not have included these

columns because it gave the impression that fees and collection costs could accrue on the subject

debt when Defendant had no intention of applying said fees in the first place. “[I]t is improper

under the FDCPA to imply that certain outcomes might befall a delinquent debtor when, legally,

those outcomes cannot come to pass.” Lox, 689 F.3d 818, 825; see also, Carter v. First Nat’l

Collection Bureau, Inc., 135 F. Supp. 3d 565, 574 (S.D. Tex. Sept. 11, 2015) (finding a collection

letter to violate the FDCPA when it falsely implied that an outcome may occur when that outcome

could not occur).

         Defendant’s initial point in the Argument section of its Motion demonstrate the extent to

which it has failed to grasp the nature of the allegations set forth in Plaintiff’s complaint. Defendant

notes that the collection letter “explicitly states that no interest of fees have accrued on the debt.”

(Dkt. 13, Defendant’s Amended Motion to Dismiss, pp. 4-5) (emphasis added). Because of this

statement, Defendant believes “[i]t is difficult to see how even the least sophisticated consumer

would be confused into believing that interest and/or fees would accrue on a debt when explicitly

told that the debt has never incurred interest and/or fees.” (Id. at p. 5) (emphasis in original).

Plaintiff acknowledges that Defendant’s letters indicate that no fees have accrued on the subject

debts.   However, any consumer, let alone the least sophisticated one, would not equate a

representation that fees have not yet accrued, as constituting a representation that such charges will

not be added (or could not accrue) in the future. A representation that something has not yet

happened does not speak to the future possibility of such thing happening. Had Defendant’s letter

advised that no interest or fees will accrue on the debt, then there would have been no confusion

as to whether the subject debt would be subject to further charges. However, Defendant’s

collection letter did not go so far. Defendant’s letter did not go so far because, had Defendant



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explicitly and clearly told Plaintiff that interest would not accrue in the future, it would have

removed the potentially incentivizing force on Plaintiff to address the subject debt in order to avoid

incurring increasing costs. As such, even though the collection letter states that interest or other

charges have not accrued, a reasonable reading of the collection letter, let alone an unsophisticated

reading of the same, leaves open the question whether interest or other charges might accrue in the

future.

          Thus, contrary to Defendant’s assertion, its indication that interest or other charges had not

accrued at the time it sent the collection letters does not clear up the confusion stemming from the

itemization of the interest and other charge as totaling $0.00. As Defendant’s Amended Motion

and Plaintiff’s complaint illustrate, Defendant had not added any interest or fees at the time it sent

the collection letter, and further would not have added these interest or other charges in the future.

(Id. at pp. 4-5 see also Dkt. 1, Plaintiff’s Complaint, ¶ 23). As such, there was absolutely no need

to include the columns of additional charges and interest since such charges had not yet accrued,

nor would they accrue. Even with zero balances, the inclusion of these columns could imply to the

unsophisticated consumer that fees and collection charges could possibly be added in the future

even if none were applied at the time of collection. The letter is silent in stating that these fees

would never apply, thus leaving the door open for an incorrect interpretation by the unsophisticated

consumer. “When language in a debt collection letter can reasonably be interpreted to imply that

the debt collector will take action it has no intention or ability to undertake, the debt collector that

fails to clarify this ambiguity does so at its peril.” Lox, 689 F.3d 818, 825 (quoting Gonzales v.

Arrow Fin. Servs., LLC, 660 F.3d 1055, 1063 (9th Cir. 2011)).

          Luckily for the parties here, just one month ago, this precise issue was addressed by a

district court in the Seventh Circuit, which rendered decisive language against this same



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Defendant. See Duarte, 2019 U.S. Dist. LEXIS 53900 at *6-7. Defendant neglects to inform this

court of Duarte, despite the fact that Defendant was also the defending party in that matter. In

Duarte, Defendant Client Services, Inc. made the exact same arguments as it does here, stating

that the phrase “Other Charges,” along with an itemization amount of “$0.00” listed in its

collection letter is not false, deceptive, or misleading. Id. at *6-7. In striking down this argument,

the Honorable Jorge L. Alonso stated, “The Court does not agree. The phrase “Other Charges”

along with an amount of “$0.00” listed could have implied to plaintiff, as well as the

unsophisticated consumer, that plaintiff could have incurred additional charges.” Id. at *7. The

Duarte court, using the same unsophisticated consumer standard as here, found that “An

unsophisticated consumer, like plaintiff, could reasonably have believed that she would incur other

charges if she did not pay the debt.” Id.

        The misleading and confusing nature of Defendant’s letters is further demonstrated by the

different meanings that could be derived when reading these letters. A statement by a debt collector

is deceptive when there are at least two different reasonable meanings, and one (or both) of them

is inaccurate, and is misleading if it implies the possibility of an action that is impossible or

unlikely under the specific facts. Velez v. Enhanced Recovery Company, LLC, 2016 U.S. Dist.

LEXIS 57832, at *3 (E.D. Pa. May 2, 2016). Here, as outlined in the letter, as of the time the letter

was sent, no additional charges or interest were added to Plaintiff’s alleged debt. Defendant asserts

that this is the only way the language can be interpreted – i.e., that the letter can only be interpreted

as demonstrating what happened, and does not falsely imply anything about the possible future

incursion of interest or other charges. (Dkt. 13, Defendant’s Amended Motion, pp. 5-6). Defendant

further recites in conclusory fashion, throughout its Motion, that Plaintiff’s view of the letter is the

kind of bizarre interpretation not actionable under the FDCPA. However, Defendant cannot



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overcome the fact that an unsophisticated consumer could logically conclude that additional

charges may incur, even though the current balance is listed as zero. In Tylke, the court stated that

a letter containing a zero-balance listing was susceptible to being interpreted incorrectly. The

collection letter at issue in Tylke relayed a balance to the debtor accompanied with statement

saying, “The above balance due includes a Verizon Wireless Collection Fee of $0.00.” Tylke v.

Diversified Adjustment Service, Inc., 2014 U.S. Dist. LEXIS 153281 at *1 (E.D. Wi. Oct. 28,

2014). The court found that the inclusion of the statement had the capability to mislead the

unsophisticated consumer. Id. at *3. “There are several possible ways the statement could be

interpreted.” Id. The court goes on to give multiple examples in which the statement could have

been interpreted, then stating “[i]n other words, the inclusion of a collection fee, even one showing

a balance of zero, could imply the future possibility of one.” Id. (emphasis added).

       Although not binding, Tylke is very persuasive in finding that Defendant’s inclusion of the

itemized account listing was misleading. As the court in Tylke contemplated, there are multiple

ways in which the listing can be interpreted by the unsophisticated consumer. He may assume that

charges were not added and would never be added or that charges were not added but could be

added in the future – a confusion which is reinforced in the instant matter by Defendant’s

representation that the subject debt had not accrued any interest as of the sending of the letter.

Because at least one of these reasonable interpretations is false, Defendant’s collection letter is

misleading for purposes of the FDCPA.

       Providing further persuasive authority that Defendant’s collection letter runs afoul of the

FDCPA is the case Wood v. Allied Interstate, LLC, 2018 U.S. Dist. LEXIS 98738 (N.D. Ill. Jun.

13, 2018), which was actually cited, and strongly supported, by the court in Duarte. The Wood

opinion addresses the precise issue raised by Plaintiff’s complaint – whether representations in a



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collection letter regarding fees and collection costs as totaling $0.00 stated a plausible claim under

the FDCPA. In denying the defendant’s motion to dismiss under 12(b)(6), the Wood court stated:

                [B]y stating that fees and collection costs stood at ‘$0.00,’ instead
                of stating something like ‘N/A’ or declining to mention fees and
                collection costs at all, the letter reasonably could be read to imply
                that such charges would begin to accrue if [plaintiff] did not pay
                the debt. Why, after all, would [defendant] include a column for
                fees and collection charges, and insert a dollar figure ($0.00), if
                not to suggest that such fees and costs might possibly accrue in
                the future?

Id. at *6 (emphasis added). The concern regarding the collection letter in Wood is the precise

concern implicated by Defendant’s collection letter serving as the basis of the instant matter. Much

like the Wood court noted, Defendant’s collection letter can reasonably be read to imply that

interest and other charges would begin to incur if Plaintiff did not pay the debt. As further

suggested by the court in Wood, and subsequently adopted in Duarte, Defendant chose to include

these itemizations followed by a dollar figure in order to suggest that fees and costs might possibly

accrue in the future. Doing so amounts to a subtle, yet nevertheless deceptive, attempt to coerce

Plaintiff into believing that more charges could come if she did not pay in full at the time she

received the collection letter.

        As illustrated above, Defendant’s collection letter was misleading and deceptive, as an

unsophisticated consumer reading Defendant’s collection letter would be left in a state of

confusion as to whether delayed payment of the subject debt would result in the itemized interest

and other charges, and the dollar figure associated therewith, increasing in the future. Contrary to

Defendant’s assertions, such an interpretation of its letter is not the type of bizarre or idiosyncratic

interpretation which courts find not to give rise to a claim under the FDCPA. Therefore,

Defendant’s Amended Motion should be denied in its entirety.




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        B. Defendant’s Cited Authority Does Not Address The Precise Issue Raised by
           Plaintiff’s Claims and Is Thus Unpersuasive.

        Defendant purports to cite to several cases that purportedly support its Motion. However,

in doing so, Defendant sets forth disingenuous arguments as to the scope of certain decisions, and

further overlooks distinguishing factors between its cited authority and the nature of the instant

dispute.

        Curiously, Defendant first cites to the Second Circuit case of Taylor v. Fin. Recovery

Servs., Inc., 886 F.3d 212 (2d Cir. 2018) to support its position. Defendant asserts that Taylor

addressed Plaintiff’s “specific claim and held it to be without merit under the least sophisticated

consumer standard.” (Dkt. 13, Defendant’s Amended Motion to Dismiss, p. 5) (emphasis added).

This statement is patently false, as the plaintiff’s claims in Taylor did not – in any way – involve

allegations of deceptive, misleading, and unfair conduct stemming from an itemization in a

collection letter that the amount of certain fees totaled $0.00. In fact, the collection letters at issue

in Taylor did not appear to contain any itemization of the subject debt, and instead merely stated

the current balance of the debt, without mentioning anything about whether interest was accruing.

Taylor, 886 F.3d at 213. As such, the alleged violation of the FDCPA in Taylor boiled down to

whether it was a per se violation of the FDCPA for a debt collector to fail to disclose whether

interest or fees are accruing on a debt. Id. at 214 (“In effect, [the plaintiffs] argue that a debt

collector commits a per se violation of Section 1692e whenever it fails to disclose whether interest

or fees are accruing on a debt.”). As such, Taylor simply does not involve the kind of claim brought

by Plaintiff here, and is therefore unpersuasive for purposes of the instant motion.

        Further demonstrating the inapplicability of Taylor is how the court summarized its

holding. In summarizing its holding, the Taylor court stated “if a collection notice correctly states

a consumer’s balance without mentioning interest or fees, and no such interest or fees are accruing,

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then the notice will [not] be misleading within the meaning of Section 1692e.” Id. at 215. In the

instant matter, it is very clear that Defendant has mentioned interest and fees in connection with

the subject debt, even though no such interest or fees were accruing. As such, Defendant’s

collection letter is not the type which the Taylor court found to be appropriate under the FDCPA

given the fact that the instant collection letter explicitly mentions interest and fees – and does so in

a deceptive and unclear manner.

       Defendant next cites to Hussain v. Alltran Financial, LP, et al. as further supporting its

position. However, much like Taylor, the plaintiff’s allegations in Hussain did not involve any

claims about the misleading, deceptive, or unfair nature of representing interest or other charges

as itemized portions of a static debt. See generally, Hussain v. Alltran Fin., LP, 2018 U.S Dist.

LEXIS 57715 (E.D.N.Y. Apr. 4, 2018). Although the collection letter in Hussain did include a

representation that the “total of interest post charge-off” and “total of non interest fees post charge-

off” totaled $0.00 respectively, the nature of these representations were not the basis of the alleged

FDCPA violations. Instead, the plaintiff in Hussain argued that the defendant’s failure to state

whether any interest is accruing (i.e., whether it is a per se violation of the FDCPA to fail to

mention whether interest is accruing) was “materially false and misleading” because the least

sophisticated consumer “would be forced to guess how much money is allegedly owed, how much

money would accrue daily, how much money would be owed [if] the amount initially demanded

was paid, and if or when collection efforts would end if the entire payment demanded was

remitted.” Id. at * 3. This is not the type of claim brought by Plaintiff here (nor those addressed by

Tylke, Wood, and Duarte), as Plaintiff’s claims more closely involve a consideration as to whether

the mere presence of the itemizations – even those totaling $0.00 – implies that interest will be

due. Noticeably absent from the Hussain court’s discussion is whether the itemizations had any



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impact on how to read the collection letters. This is because the plaintiff in Hussain failed to raise

this argument. As such, Hussain misses the mark and is unpersuasive. See also, Delgado v. Client

Servs., 2018 U.S. Dist. LEXIS 37711, at *7 (N.D. Ill. Mar. 7, 2018) (distinguishing cases which

involve dunning letters that contained itemizations of interest as totaling $0.00 to the extent none

of the distinguished cases “considered whether the mere presence of those itemizations implies

that interest will be due” since “the parties in those cases never raised that argument”).1

        The final case cited by Defendant in support of its Motion – Delgado v. Client Servs. – at

least involves alleged violations of the FDCPA stemming from itemizations of interest and other

costs in a collection letter. However, it is important to note that Delgado was issued from the

Northern District of Illinois prior to Wood being decided by the same court. As such, Wood had

the benefit of reviewing Delgado, and declined to follow its holding. Wood, 2018 U.S. Dist. LEXIS

98738 at *6 (“In holding that [plaintiff] has plausibly alleged that [defendant’s] letter violated §§

1692e and 1692f in this respect, the court respectfully parts company with Delgado . . .”).

        One possible explanation for the Wood court’s departure from Delgado is the Wood court’s

ability to distinguish Fields v. Wilber Law Firm., P.C., 383 F.3d 562 (7th Cir. 2004) from a situation

akin to the instant matter. As Defendant’s Amended Motion makes clear, the Delgado court relied

on Fields in reaching its conclusion. (Dkt. 13, Defendant’s Amended Motion to Dismiss, p. 7); see

also, Delgado, 2018 U.S Dist. LEXIS 37711 at *9. In distinguishing Fields, the Wood court stated:

                 Allied next contends that [Fields] teaches that a debt collector
                 complies with Section 1692e of the FDCPA by providing an
                 accurate breakdown and itemization of charges that go into a
                 balance due. This argument fails to persuade as well. The letter
                 found misleading in Fields stated that the plaintiff owed $388.54,
                 yet that figure reflected the original sum owed of $122.06 plus
                 interest and service charges . . . plus $250 in attorneys’ fees for the
                 collection of the debt. The Seventh Circuit held that the letter

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 Much like the Delgado court recognized when discussing various cases, the Court should similarly find the
discussion in Hussain to not be on point.

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               violated the FDCPA because debt collectors must make clear how
               the total amount due was determined if the demand for payment
               includes add-on expenses like attorneys’ fees or collection costs.
               After all, the Seventh Circuit reasoned, a consumer might find it
               difficult to understand how a relatively modest fee for services
               rendered . . . had tripled in size. That concern is not present here.
               Unlike the situation in Fields, the sum Allied was permitted to
               collect from Wood did not include fees and collection costs.
               Fields therefore did not require Allied to tell Wood how much
               in fees and collection costs he owed – and the FDCPA prohibited
               Allied from falsely implying that fees and collections costs might
               accrue if the debt was not quickly paid.

Wood, 2018 U.S Dist. LEXIS at *7-8 (internal quotations and citations omitted). In making this

distinction, the Wood court helps clarify that the decision of Fields (and by extension a significant

portion of the rationale supporting the decision in Delgado), does not necessarily apply in

situations like the instant matter. The instant matter is very dissimilar from the case in Fields.

Plaintiff’s alleged debt was not comprised of different charges that needed to be explained. As

stated earlier, Plaintiff’s alleged debt had not increased from the time of charge off to the time that

the letter was sent. Therefore, no itemization like what was found in Fields was necessary here.

Defendant simply had to list the total amount of the subject debt, and did not have to itemize

anything with regard to fees. This is precisely what the court found to not be a violation of the

FDCPA in Taylor v. Fin. Recovery Servs., Inc., 886 F.3d 212, 215 (2d Cir. 2018) (the Taylor court

stated “if a collection notice correctly states a consumer’s balance without mentioning interest or

fees, and no such interest or fees are accruing, then the notice will [not] be misleading within the

meaning of Section 1692e”) (emphasis added). However, Defendant’s decision to itemize the fees,

and to further suggest that such fees have not accrued (rather than will not accrue), constitutes a

deceptive and misleading collection letter in violation of the FDCPA. Defendant would not be put

between any rock or a hard place by refraining from itemizing the discrete portions of the subject

debt, since those portions were not increasing. As evidenced by the authority cited herein,

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including the most recent Duarte opinion, the itemization of a dollar figure, albeit a $0.00 figure,

coupled with the phrase “Other Charges,” implies to an unsophisticated consumer, that Plaintiff

could have incurred additional charges.

        Therefore, Plaintiff respectfully asks that the Court follow the holdings of Wood, Tylke,

and Duarte, and find that Plaintiff’s Complaint states a claim for relief under the FDCPA which is

plausible on its face.

        C. Defendant’s Amended Motion Fails to Address Plaintiff’s Claims under 15 U.S.C.
           § 1692f.

        Throughout its Motion, Defendant goes to great lengths to attack the nature of Plaintiff’s

allegations – however, Defendant seemingly failed to address the entirety of Plaintiff’s claims

under the FDCPA. Specifically, Defendant’s Amended Motion – and the authority cited therein –

at no time addresses whether Defendant’s conduct would be unfair pursuant to 15 U.S.C. § 1692f.

While § 1692e addresses deceptive and misleading conduct by a debt collector, § 1692f deals with

unfair methods or conduct in connection with the collection of a debt. See 15 U.S.C. § 1692f.

        Defendant’s failure in this regard is likely a product of the fact that its cited authority –

Taylor, Hussain, and Delgado – did not involve any claims (or discussion of claims) brought under

§ 1692f. However, the Wood court explicitly held that claims under § 1692f brought in connection

with a collection letter similar to the one sent by Defendant here were plausible on their face.

Wood, 2018 U.S. Dist. LEXIS 98738 at * 6 (“holding that [plaintiff] has plausibly alleged that

Allied’s letter violated §§ 1692e and 1692f . . .”). Therefore, Defendant’s Amended Motion to

Dismiss should be denied to the extent it seeks dismissal of Plaintiff’s claims under § 1692f, given

Defendant’s failure to address or provide any argument as to why Plaintiff’s claims under § 1692f

are subject to dismissal.

IV.     CONCLUSION

                                                 15
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       In light of the above, Plaintiff respectfully requests that this Honorable Court deny

Defendant’s Amended Motion in its entirety.

Dated: April 29, 2019                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        The undersigned, one of the attorneys for Plaintiff, certifies that on April 29, 2019, he
caused a copy of the foregoing, PLAINTIFF’S RESPONSE TO DEFENDANT CLIENT
SERVICES, INC.’S AMENDED MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(6)
to be served electronically via CM/ECF system on:

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                                                     Respectfully submitted,

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